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               EXHIBIT 2




EXHIBIT TO
PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION FOR LEAVE
TO EXTEND TIME FOR RESPONSE TO DKT. 122
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Abrams, Barry

From:                                        Lucas Henry <lhenry@ABERNATHY-LAW.com>
Sent:                                        Wednesday, April 30, 2025 3:52 PM
To:                                          Abrams, Barry; Charles Crawford
Cc:                                          Martin Golando; Scott, Bob; LLagostera, Domingo M.
Subject:                                     RE: 4:21-CV-01997 Virginia Elizondo vs. SBISD [IMAN-LEGAL.FID3565632]


Hi Barry,

Thanks for reaching out. I appreciate Dr. Stein's offer and will communicate it to Dr. Alford. That being said, I
disagree with the assertion that Dr. Alford and Mr Gardner's offices can get this done in 20 days (even with Dr.
Stein's help) for the following reasons:

      1. The District will be requesting a 5-2 plan, not a 7-0 plan, as allowed by the Court. Therefore, Dr. Stein's
         previously drawn map has only some value.
      2. The Court is requesting not only a map, but also "sufficient supporting expert analysis establishing that it
         complies with Section 2 of the VRA." This will also take time, but cannot be accomplished until the map is
         ready.
      3. The Court is also allowing for short legal briefing on the sufficiency of the plan. This cannot be
         accomplished until the map is ready.
      4. SBISD can only act as a body corporate through the Board of Trustees. That means we have to meet and
         discuss the proposed maps. That will take time.
      5. SBISD has an election on Saturday. There will be a minimum of two and up to three new board members
         sworn in on May 13_. Therefore, the soonest I could meet with them is May 13. The 20 day deadline is May 19
         (18 th is a Sunday). If there is even a modicum of disagreement, the Board may not be able to give me clear
         authority by the deadline.
      6. In between all of this, SBISD is dealing with the last month of school, graduations, etc. (as are the experts).

I therefore intend to move the Court for an extension to June 6 to complete this work. That is an 18 day extension.
Please let me know if you will withdraw your opposition to my request based on the above.

Thank you.
-Lucas

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From: Abrams, Barry <barry.abrams@blankrome.com>
Sent: Wednesday, April 30, 2025 1:43 PM
To: Lucas Henry <lhenry@ABERNATHY-LAW.com>; Charles Crawford <ccrawford@ABERNATHY-LAW.com>
Cc: Martin Golando <martin.golando@gmail.com>; Scott, Bob <bob.scott@blankrome.com>; LLagostera, Domingo M.
<domingo.llagostera@blankrome.com>; Abrams, Barry <barry.abrams@blankrome.com>
Subject: RE: 4:21-CV-01997 Virginia Elizondo vs. SBISD
Importance: High

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Lucas-

This email is a follow up to our conversation yesterday, in which you questioned the District's ability timely
to comply with the Court's order requiring the District to present a VRA-compliant single member district
plan within the time allotted.

I have reconfirmed with Dr. Stein my understanding that it is feasible for such a plan to be prepared timely
(i.e., within the timeframe the Court has directed), particularly in light of the existence of the illustrative
plan which the District has had available to it for years.

To facilitate that process, minimize the expense to the parties, and diminish the potential for future
disagreement, Dr. Stein has agreed that he would make himself available to confer directly with either or
both Dr. Alford or Mr. Gardner (who you indicated is the District's demographer) to discuss preparation of
the required VRA-compliant single member district plan.

As you likely recall, Drs. Alford and Stein have regularly worked together in the past to prepare districting
plans for various other school districts. And Dr. Stein is optimistic that if allowed to do so, he and Dr. Alford
(along with Mr. Gardner's input) could readily do so here.

I would appreciate it if you would let us know whether the District is interested in having Dr. Stein
collaborate with Dr. Alford and/or Mr. Gardner, timely to prepare the VRA-compliant plan that Judge Lake
has directed the District to submit.

Thanks.

-Barry

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